
PER CURIAM.
Because the lessee did not establish that there were any special circumstances which would warrant relief from the consequences of its failure to give written timely notice of its intent to renew the lease, we affirm the orders under review. Dugan v. Haige, 54 So.2d 201 (Fla.1951); Thrifty Dutchman, Inc. v. Florida Supermarkets, Inc., 541 So.2d 634, 636 (Fla. 3d DCA), review denied, 551 So.2d 461 (Fla.1989); Investment Builders of Fla., Inc. v. S.U.S Food Mkt. Invs., Inc., 753 So.2d 759 (Fla. 4th DCA 2000).
Affirmed.
